Case 8:24-cv-00716-JSM-UAM Document 1-6 Filed 03/21/24 Page 1 of 2 PagelD 590
IS 44 (Rev, 03/24) CIVIL COVER SHEET

The IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by focal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civii docket sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM.)

L (a) PLAINTIFFS DEFENDANTS
UNIVERSITY OF SOUTH FLORIDA BOARD OF
ERICA BRYANT TRUSTEES and FLORIDA DEPARTMENT OF EDUCATION
(b) County of Residence of First Listed Plaintiff Leon County County of Residence of First Listed Defendant Hillsborough County
(EXCEPT IN U.S. PLAINTIFF CASES} (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c} Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
Marie A. Mattox, Esq. and Brian Finnerty, Esq.;
Marie A. Mattox, P.A., 203 North Gadsden Street, (see attachment)
Tallahassee. FL 32301: Telephone: (850) 383-4800
IE. BASIS OF JURISDICTION (Piace an “X” in One Box Only) LL. CIFEZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
[]1 U.S. Government [¥]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State []1) [2] 1 incorporated or Principal Place []4¢ (4
of Business In This State
[2 U.S. Government [4 Diversity Citizen of Another State [12 [] 2. meorporated and Principal Place []5 []5
Defendant (indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject ofa [13 [[] 3. Foreign Nation Cle (le
Foreign Country

IV. NATURE | OF SUIT (piace an “x” in One Box Ory

Click here for: : aus of Suit cole Pesan potions.

110 Insurance PERSONAL INJURY PERSONAL INJURY T1625 Drug Related Seizure f | 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Cl 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 376 Qui Tam (31 USC
130 Miiler Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 372%a))
140 Negotiable Instrument Liability Ci 367 Health Care/ : 400 State Reapportionment
[] 1354 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical oP ROPRI 410 Antitrast
& Enforcement of Fudgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
131 Medicare Act 7] 330 Federal Employers’ Product Liability 930 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal $35 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans} 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY : : 4 880 Defend Trade Secrets [_] 480 Consumer Credit
_.._ of Veteran’s Benefits + 330 Motor Vehicle H 370 Other Fraud 714 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|__| 160 Stockhalders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[190 Other Contract Product Liability  [_] 380 Other Personal | 1720 Labor/Management E un Protection Act
[_ | 195 Contract Product Liability [7] 360 Other Personal Property Damage Relations $61 HEA (1395ff) | 490 Cable/Sat TV
[|_| 196 Franchise Injury Ci 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 856 Securities/Commoditics/
| 362 Personal Injury - Product Liability Ais Family and Medical 863 DIWC/DIWW (405(2)) Exchange
Medical Malpractice Leave Act 864 SSID Fitle X¥1 | 890 Other Statutory Actions
REAL: PROPERTY: aH : 790 Other Labor Litigation ii 865 RSI (405(2)) 891 Agricultural Acts
210 Land Condemnation 791 Employee Retirement 893 Environmental Matters
|_| 220 Foreclosure 44) Voting -| Income Security Act FEDEL E 895 Freedom of Information
[| 230 Rent Lease & Bjectment ¥* | 442 Employment 310 Motions to Vacate ] a7 Taxes (U.S. Plaintiff Act
|_| 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations 530 General | | 871 IRS—Phird Party 899 Administrative Procedure
[| 290 All Other Reat Property 445 Amer. w/Disabilities -[ | 535 Death Penalty 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization ‘Application Agency Decision
446 Amer. w/Disabilities -[ | 540 Mandamus d Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
¥. ORIGIN (Place ar "X" in One Box Only)
Cc 1 Original 2 Removed from cl 3. Remanded from O 4 Reinstated or Cc] 5 Transferred from 6 Multidistrict Cl 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specif) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):
42 U.S.C. § 20000, et. seq.; 42 U.S.C. § 1981a

Brief description of cause:
Emptoyment discrimination and retaliation on the basis of race.

VI. CAUSE OF ACTION

VII. REQUESTED IN = ["] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]yes [No
VIL RELATED CASE(S) /
IF ANY (See instructions}: JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
March 21, 2024 /siJadie Mims, Esq.
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING ifP JUDGE MAG, JUDGE

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ATTACHMENT

I.(c) Attorneys (Defendants)

Attorneys for Defendant, University of South Florida Board of Trustees

F. Damon Kitchen, Esq.
Jadie R. Mims, Esq.

CONSTANGY, BROOKS, SMITH & PROPHETE, LLP
Post Office Box 41099

Jacksonville, Florida 32203

Telephone: (904) 356-8900

Facsimile: (904) 356-8200

Attorneys for Defendant, Florida Department of Education

Thomas R. Thompson, Esq.
Mallory B. Brown, Esq.

THOMPSON, CRAWFORD, BROWN & SMILEY, P.A.
1330 Thomasville Road

Tallahassee, FL 32303

Telephone: (850) 386-5777

Facsimile: (850) 386-8507

